          Case 1:17-cv-00365-DAE Document 419 Filed 10/17/22 Page 1 of 8




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,
                                                  §
                                                  §
               Plaintiffs,
                                                  §
                                                  §    Civil Action No. 1:17-cv-00365-DAE-AWA
vs.
                                                  §
                                                  §
GRANDE COMMUNICATIONS
                                                  §
NETWORKS LLC,
                                                  §
                                                  §
               Defendant.
                                                  §

       PLAINTIFFS’ TRIAL MOTION IN LIMINE TO PERMIT THEM TO INTRODUCE
      CERTAIN EVIDENCE AND ARGUMENTS REGARDING THE BMG V. COX TRIAL

                                         INTRODUCTION

         At trial, Plaintiffs intend to introduce emails and testimony referencing the December 2015

 trial held in BMG Rights Mgmt. (US) LLC et. al. v. Cox Enterprises, Inc. et al., No. 1:14-cv-01611-

 LO-JFA (E.D. Va.) (“Cox”). The fact of that trial, the use of Rightscorp evidence in that trial

 (indeed much of the same evidence at issue here), and the outcome in that trial are critically

 relevant to multiple material disputed issues of fact in this case and are essential to explain the

 conduct of both Grande and Plaintiffs. 1

         As Plaintiffs stated in their motion in limine on this subject before trial, Plaintiffs do not

 intend to discuss the findings of fact or conclusions of law in Cox, nor do Plaintiffs intend to

 introduce the verdict form, judgment, evidence, or testimony presented as exhibits in this case.

 However, it is impossible to accurately present the facts about Grande’s processing of copyright

 infringement notices from Rightscorp, its decisions to first maintain and then completely rewrite


 1
  This request is consistent with Plaintiffs’ position set forth in their Opposition to Grande’s
 motion in limine, see Dkt. No. 335 at 14-16, and the Court’s ruling on that motion, see Dkt. No
 347 at 11.


                                                   1
         Case 1:17-cv-00365-DAE Document 419 Filed 10/17/22 Page 2 of 8




its policy for dealing with infringement notices or its state of mind in doing so without referring to

the fact of the Cox trial, Rightscorp’s role in that trial or the outcome of that trial—all facts that

Grande itself repeatedly referenced internally.

       Grande’s internal emails and deposition admissions show that Grande was aware of the

Cox litigation as it was occurring, that Grande was contemporaneously aware of the outcome of

the Cox trial in December 2015, and that the outcome of the Cox trial directly influenced Grande’s

relevant course of conduct. In particular, despite having specific knowledge of the Cox outcome,

the role of Rightscorp evidence in obtaining that result, and the fact that virtually identical claims

could be made against Grande, Grande paused to consider what steps to take in response to the

Cox verdict, but decided both to: (1) forward Rightscorp notices to its users; and (2) continue its

policy of not terminating any of its subscribers for copyright infringement. In fact, while it changed

its formal policy a year later, it failed to terminate a single user until after Plaintiffs filed this

lawsuit. Plaintiffs’ proof of these core factual issues is dependent on several Grande emails

referencing the Cox case. Thus, it is critical that Plaintiffs be permitted to submit this evidence to

the jury so it can accurately evaluate Grande’s willful blindness, willfulness, and the amount of

any statutory damages award.

       Moreover, reference to those same facts is essential to rebut certain assertions Grande made

in its opening statement and continues to press as themes throughout the trial. Indeed, the prejudice

to Plaintiffs from allowing Grande’s arguments to go unanswered despite the fact that evidence

exists to rebut them entirely cannot be overstated.

       During Grande’s opening statement, counsel argued that Plaintiffs have “known for years

and years” that Rightscorp’s notices are illegitimate and purchased Rightscorp’s notices, in




                                                  2
         Case 1:17-cv-00365-DAE Document 419 Filed 10/17/22 Page 3 of 8




Grande’s words, as a “lottery ticket.” 2 Grande has pursued this same theme in questioning

Plaintiffs’ witnesses. 3 The dispositive response to this baseless argument is—as Plaintiffs’

witnesses are prepared to testify—that the outcome of the Cox trial constituted a validation of the

Rightscorp system and convinced Plaintiffs to obtain the relevant evidence from Rightscorp and

bring this action. Testimony on this subject matter is the only way for Plaintiffs to rebut Grande’s

narrative that has already presented to the jury.

        Plaintiffs submit that their use of this evidence is fully consistent with the Court’s ruling

on Grande’s Motion in Limine No. 8, where the Court agreed that “Plaintiffs should be permitted

to present the jury with the fact that Rightscorp sent notices to Cox, and that Cox ultimately was

found liable for copyright infringement based on those notices[.]” 4

        For these reasons, the Court should permit Plaintiffs to introduce this Cox-related evidence

to the jury. Indeed, Plaintiffs respectfully submit that being precluded from presenting this

evidence to the jury will interfere with Plaintiffs’ right to a fair trial.

        The Outcome in Cox is Relevant to Grande’s Course of Conduct, Providing Proof of
        Both Grande’s Willful Blindness and the Willfulness of its Conduct, Which is a Key
        Factor for Statutory Damages.



        Several internal Grande emails from 2014 through 2016 reveal that Grande was following

news about the Cox litigation as it was occurring and that, in the wake of and with specific

reference to the Cox verdict, Grande (1) considered whether the verdict should cause Grande to

revisit its own infringement policies and practices, (2) examined its receipt and handling of

Rightscorp notices, and nonetheless decided to forward such notices to Grande subscribers (until



2
  Oct. 12, 2022, Trial Tr. at 75:23-76:3 & 76:24-77:3.
3
  See, e.g., id. at 179:25-180:6.
4
  ECF 347 at 13 (emphasis added).


                                                     3
           Case 1:17-cv-00365-DAE Document 419 Filed 10/17/22 Page 4 of 8




switching course again in 2017), and (3) contemplated that Grande, like Cox, had damning internal

emails that could lead to Grande, like Cox, being found liable. 5 Indeed, these documents include

evidence the Court cited when denying Grande’s motion for summary judgment on the question

of willfulness. See Dkt. 268, S.J. Order at 43 (citing Dkt. 172, Pls’ Opp. and Cross-Mot. for S.J.,

at 33/38). Accordingly, the relevant materials referencing the Cox case and verdict should be

introduced to the jury through these independently admissible documents.



       Grande’s own documents referring to the Cox outcome are not precluded by the rule against

hearsay.

       First, the emails are not hearsay since they are classic party admissions under Federal Rule

of Evidence 801(d)(2)(D). Indeed, these emails are statements made by Grande employees

concerning matters within the scope of their employment (Grande’s policies), and Plaintiffs seek

to offer them against Grande on the subjects of willful blindness and willfulness.

       Second, the statements made by Grande employees in the Cox-related emails are also

admissible under Federal Rule of Evidence 803(3) as statements of those employees’ then-existing

state of mind because they are evidence of Grande’s “intent, plan, motive, [or] design” to comply

(or not) with federal copyright law. The state of mind of Grande’s employees is directly at issue

in this case, because whether Grande committed willful infringement is a question for the jury.

See Malaco Inc. v. Cooper, No. CIV.A. 300CV2648P, 2002 WL 1461927, at *5 (N.D. Tex. July

3, 2002) (holding that the “infringer’s state of mind in committing the infringement” is relevant to

copyright infringement damages).



5
 See PX 147, 148, 166, 206, 207, 214 & 216. In particular, PX 216 refers to the amount of the
Cox jury verdict. Plaintiffs will not oppose a request to redact the dollar amount of the verdict.



                                                 4
         Case 1:17-cv-00365-DAE Document 419 Filed 10/17/22 Page 5 of 8




        Some of the emails at issue contain links to or excerpts from news articles about the Cox

litigation and verdict. This material is not barred by the rule against hearsay because Plaintiffs are

not offering the links or articles for the truth of the assertions contained therein, but rather for their

effect on the listener (i.e., Grande). Out-of-court statements, when only offered for their effect on

the listener, are routinely admitted as non-hearsay. See, e.g., Escobedo v. Dynasty Insulation, Inc.,

694 F. Supp. 2d 638, 645 (W.D. Tex. 2010); Mick v. Big Sur Waterbeds, Inc., No. A-06-CA-115

LY, 2006 WL 8432099, at *7 (W.D. Tex. Dec. 18, 2006) (Austin, M.J.), report and

recommendation adopted sub nom. Mick v. Big Sur Waterbeds, Inc, No. A-06-CA-115-LY, 2007

WL 9701141 (W.D. Tex. Jan. 24, 2007). These statements are especially relevant, where, as here,

they had an effect on a defendant’s decision making. See, e.g., Hovsepian v. State Farm Mut. Auto.

Ins. Co., No. CV0908929MMMPLAX, 2011 WL 13213900, at *3 n.44 (C.D. Cal. Jan. 12, 2011).

        Testimony Referring to Cox is Necessary to Rebut Grande’s Factual Claim
        Concerning Plaintiffs’ Course of Conduct.

        Grande asserted during its opening statement that Plaintiffs never hired Rightscorp and did

not vet the Rightscorp notices before filing their lawsuit against Grande. 6 It went on to say that

Plaintiffs avoided Rightscorp, and viewed the company’s system as unreliable, right up until the

filing of their lawsuit. 7 In particular, Grande told the jury in its opening statement that “the record

labels, they’re going to hope to trick you into thinking that the Rightscorp accusations are




6
  See Oct. 12, 2022, Trial Tr. at 75:18-77:12.
7
  See id. at 76:4-6 (“for a decade or more the record labels have known that Rightscorp is not a
legitimate business.”); Id. 76:14-16 (Plaintiffs “wanted to distance themselves from the company
so no one thought they were in any way affiliated with Rightscorp or the e-mails that they were
sending.”)


                                                    5
           Case 1:17-cv-00365-DAE Document 419 Filed 10/17/22 Page 6 of 8




legitimate, even though they’ve known for years and years that they aren’t.” But the reality is that

the landscape changed beginning with the Cox verdict in late 2015. Thus, Grande’s portrayal

glaringly omits that Plaintiffs were aware of how Rightscorp notices were used in Cox and that the

outcome of that litigation was a primary factor in their decision to file their own case.

          The only way for Plaintiffs to correct Grande’s misleading statement—and the questioning

of Plaintiffs’ witnesses following up on that same theme—is for Plaintiffs to be able to present

testimony about how the validation of the Rightscorp system reflected in the Cox outcome caused

Plaintiffs to decide to use the Rightscorp infringement detection system and evidence for their own

lawsuit. Indeed, the fact that the same Rightscorp system served as the sole supporting evidence

of direct infringement in a successful federal lawsuit rebuts Grande’s accusation that the notices

are nothing more than “a lottery ticket that [the Plaintiffs] purchased from the Rightscorp

company.” 8 In order to have a fair trial, Plaintiffs must have the right to rebut Grande’s repeated

and emphatic presentation of its baseless themes.

           Therefore, the Court should allow Plaintiffs’ witnesses to testify on this subject matter.

                                           CONCLUSION

          For the foregoing reasons, the Court should permit Plaintiffs to present evidence

referencing the Cox outcome and the significance to Plaintiffs of Rightscorp’s role in that case.




8
    Id. at 75:23-24.


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        Case 1:17-cv-00365-DAE Document 419 Filed 10/17/22 Page 7 of 8




Dated: October 17, 2022            Respectfully submitted,

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                                       7
        Case 1:17-cv-00365-DAE Document 419 Filed 10/17/22 Page 8 of 8




                              CERTIFICATE OF SERVICE

       The undersigned certifies that on October 17, 2022 all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                           /s/ Paige A. Amstutz
                                           Paige A. Amstutz




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